Case 0:24-cv-60382-DSL Document 23 Entered on FLSD Docket 05/13/2024 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 0:24-cv-60382-LEIBOWITZ/Augustin-Birch

  JESSICA PIAFSKY,
         Plaintiff,
  v.
  MB HOME IMPROVEMENTS, INC. et al. ,

         Defendants.
  ______________________________________/

                                               ORDER

         THIS CAUSE came before the Court sua sponte. On April 23, 2024, pro se Defendant Maxim

  Bohadana filed a Motion to Dismiss individually and on behalf of his corporation Defendant MB

  Home Improvements, Inc. [ECF No. 15]. On April 30, 2024, pro se Defendant Maxim Bohadana

  filed a Motion to Dismiss on behalf of his corporation Defendant MB Home Improvements, Inc.

  [ECF No. 17]. Upon due consideration and for the reasons given below, pro se Defendant Maxim

  Bohadana’s Motion to Dismiss on behalf of himself and his corporation Defendant MB Home

  Improvements, Inc. [ECF No. 15] is STRICKEN as to Defendant MB Home Improvements, Inc.,

  and pro se Defendant Maxim Bohadana’s Motion to Dismiss on behalf of his corporation MB Home

  Improvements, Inc. [ECF No. 17] is STRICKEN.

         Every written motion must be signed by an attorney of record “or by a party personally if the

  party is unrepresented.” Fed. R. Civ. P. 11(a). A corporation may not represent itself but must be

  represented by counsel. Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (citations

  omitted). Individual parties in federal court “may plead and conduct their own cases personally or by

  counsel.” 28 U.S.C. § 1654. But MB Home Improvements, Inc. is a corporation, and as such, “can

  act only through agents, cannot appear pro se, and must be represented by counsel.” Palazzo, 764 F.2d
Case 0:24-cv-60382-DSL Document 23 Entered on FLSD Docket 05/13/2024 Page 2 of 3



  at 1385 (citations omitted). This is true “even where the person seeking to represent the corporation

  is its president and major stockholder.” Id. (citation omitted). Consequently, as a non-lawyer, Maxim

  Bohadana may not represent the interests of MB Home Improvements, Inc. See id. (citation omitted);

  see also Wheat v. United States, 486 U.S. 153, 159 (1988) (“[A]n advocate who is not a member of the bar

  may not represent clients (other than himself) in court.”); Iannacone v. Law, 142 F.3d 553, 558 (2d Cir.

  1998) (“[B]ecause pro se means to appear for one's self, … a lay person may not represent a corporation

  or a partnership[.]” (alterations added)). Therefore, the Court must strike any motion to dismiss that

  Maxim Bohadana has filed on behalf of MB Home Improvements, Inc. MB Home Improvements,

  Inc. will be permitted additional time to find counsel and re-file its response to the complaint. Upon

  due consideration, it is hereby

              1. ORDERED that pro se Defendant Maxim Bohadana’s Motion to Dismiss on behalf of

                   himself and his corporation Defendant MB Home Improvements, Inc. [ECF No. 15]

                   is STRICKEN as to Defendant MB Home Improvements, Inc.;

              2.   ORDERED that pro se Defendant Maxim Bohadana’s Motion to Dismiss on behalf

                   of his corporation MB Home Improvements, Inc. [ECF No. 17] is STRICKEN;

              3. ORDERED that MB Home Improvements, Inc. shall obtain counsel and re-file its

                   response to the complaint no later than May 31, 2024; and

              4. ORDERED that all Defendants must comply with this Court’s Order in Cases with

                   Multiple Defendants [ECF No. 6] that was entered on March 25, 2024.

          DONE AND ORDERED in the Southern District of Florida on May 10, 2024.
Case 0:24-cv-60382-DSL Document 23 Entered on FLSD Docket 05/13/2024 Page 3 of 3



  cc:   counsel of record
        Roi Neeman, pro se
        Maxim Bohadana, pro se
        MB Home Improvements, Inc., pro se
